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                              UNITED STATES DISTRICT COURT

                             EASTERN DISTRICT OF LOUISIANA


JENNIFER RAVAIN, INDIVIDUALLY  * CIVIL ACTION
AND ON BEHALF OF HER MINOR     *
CHILD, J.R.                    * NO. 21-cv-2365
            Plaintiff          *
VERSUS                         * JUDGE, SECTION “A”
                               *   JAY C. ZAINEY
OCHSNER MEDICAL CENTER KENNER, *
LLC, JEFFERSON PARISH SCHOOL   * MAGISTRATE 4
BOARD, AND EAST JEFFERSON HIGH *   KAREN WELLS ROBY
SCHOOL                         *
           Defendants          *
****************************************************


     MEMORANDUM IN SUPPORT OF FRCP RULE 12(B)(6) MOTION TO DISMISS
           OF DEFENDANTS JEFFERSON PARISH SCHOOL BOARD
                  and EAST JEFFERSON HIGH SCHOOL

MAY IT PLEASE THE COURT:

       Plaintiffs filed suit in the 24th Judicial District Court for the Parish of Jefferson, State of

Louisiana against Ochsner Medical Center Kenner, LLC (“Ochsner”), the Jefferson Parish School

Board (“JPSB”) and East Jefferson High School (“EJHS”). In the suit the plaintiffs asserted two

Louisiana state tort claims, one for battery of a minor and the other for infliction of emotional

distress, arising out of the vaccination of plaintiff’s minor son for protection against COVID-19 by

employees of the defendant Ochsner. The vaccination took place at East Jefferson High School.

East Jefferson High School is a public school owned and operated by the Jefferson Parish School

Board. Despite the fact that EJHS has been erroneously sued herein as a distinct named defendant,



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it is a non-juridical entity incapable of being sued.

       Pursuant to a Notice of Removal filed in this Honorable Court on December 22, 2021,

defendant Ochsner Medical Center Kenner, LLC with the express consent of the defendants

Jefferson Parish School Board and East Jefferson High School, the case was removed to Federal

Court, Section O, Judge Jay C. Zainey. The removal was predicated upon the provisions of 42

U.S.C. Section 247d-6d, namely, the Public Readiness and Emergency Preparedness Act (“PREP

Act”), including but not limited to the explicit preemption and immunity provisions contained

therein.

       Defendants Jefferson Parish School Board and East Jefferson High School have filed in this

Honorable Court, in connection herewith, a Motion to Dismiss pursuant to FRCP Rule 12(b)(6) in

which they have adopted in full the Motion to Dismiss filed by the defendant Ochsner Medical

Center Kenner, LLC. In support thereof, as their Memorandum in Support of the Motion, these

defendants likewise adopt in full the Memorandum of Law in Support of Motion to Dismiss

filed by the said Ochsner Medical Center Kenner, LLC. And, like Ochsner, these defendants

reserve the right to oppose the plaintiff’s claims and allegations should this matter survive the

instant motions.



                                            CONCLUSION

       Re-iterating the conclusion put forth in its Memorandum by Ochsner, it has been

demonstrated in Memoranda by and on behalf of all of the defendants herein, namely, the Jefferson

Parish School Board and East Jefferson High School, and Ochsner Medical Center Kenner, LLC.,


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that the plaintiffs have not alleged any claim that falls outside of PREP Act immunity from suit.

Based upon all of the foregoing, under the facts alleged by the plaintiffs herein, the defendants

Jefferson Parish School Board and East Jefferson High School, again while East Jefferson High

School is not a juridical entity capable of being sued, respectfully request that their Motion to

Dismiss be granted, and that the present suit and all plaintiffs’ claims therein be dismissed with

prejudice, at plaintiffs’ costs, against all defendants.

                                                           Respectfully submitted,

                                                           GRANT & BARROW, APLC


                                                           By: /s/ Olden C. Toups, Jr.
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on February 28, 2022, a copy of the foregoing pleading was filed

electronically with the Clerk of the Court using the CM/ECF system. Notice of this filing will be

sent to all counsel of record by CM/ECF, email or U.S. mail.


                                                    /s/ Olden C. Toups, Jr.
                                                    OLDEN C. TOUPS, JR.




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